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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                             OWENSBORO DIVISION

 CRIMINAL ACTION NO. 4:07CR-10-M

 UNITED STATES OF AMERICA                                                         PLAINTIFF

 VS.

 JOHN E. STEWART
 ROBERT WETTSTAIN                                                             DEFENDANTS

                         MEMORANDUM OPINION AND ORDER

        This matter is before the Court on motions by Defendants, Robert Wettstain and John

 Stewart, for a judgment of acquittal pursuant to Fed. R. Crim. P. 29 and new trial pursuant

 to Fed. R. Crim. P. 33 [DN 128, DN 135]. The Government filed a response [DN 138]. The

 Defendants filed replies [DN 146, DN 147]. Fully briefed, these matters are ripe for

 decision.

                              Presentation of False Testimony

        Wettstain moves for a new trial on the grounds that the government presented perjured

 testimony. “[A] conviction obtained by the knowing use of perjured testimony is

 fundamentally unfair, and must be set aside if there is any reasonable likelihood that the false

 testimony could have affected the judgment of the jury.” United States v. Agurs, 427 U.S.

 97, 103 (1976). “To prevail on a claim that the government presented perjured testimony, [a

 defendant] must show ‘(1) that the statements were actually false; (2) the statements made

 were material; and (3)[the] prosecution knew they were false.’” United States v. Pierce, 62

 F.3d 818, 834 (6th Cir.1995)(quoting United States v. Farley, 2 F.3d 645, 655 (6th Cir.
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 1993)); United States v. Lochmondy, 890 F.2d 817, 822 (6th Cir. 1989) The burden is on

 Wettstain to show that the testimony was false. United States v. Griley, 814 F.2d 967, 971

 (4th Cir. 1987).

        Wettstain argues that Jerry Richardson, Misty Roberts, and James Stewart, along with

 others, presented false testimony at trial. As evidence, Wettstain cites a September 18, 2007,

 letter written by co-defendant, Jerry Richardson, to Misty Roberts, and an October 6, 2007,

 letter written by Richardson to “Cuz,” who was identified at trial as James C. Stewart. These

 letters were disclosed to counsel prior to trial and used at trial as impeachment evidence.

        First, the September 18, 2007, letter from Richardson to Roberts clearly instructs

 Roberts to lie about Richardson beating her up. However, this information is not material

 to the case. Defense counsel cross-examined Richardson about the September 18, 2007

 letter. Furthermore, both Richardson and Roberts testified at trial about Richardson’s violent

 conduct toward his girlfriend. Second, the remainder of the letters do not clearly establish

 that the trial testimony of Richardson, Roberts, and Stewart was false. While the letters call

 into question the credibility and believability of these witnesses, these letters alone do not

 establish that the trial testimony was “actually false.” For these reasons, the Court finds that

 Defendant Wettstain fails to meet his burden of showing that the government presented

 perjured testimony.

                                  Prosecutorial Misconduct

         Wettstain and Stewart argue that the Assistant United States Attorney engaged in

 misconduct during his closing argument by appealing to the “community conscience” of the

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 jurors. At the beginning of his closing argument, the Assistant United States Attorney stated

 that:

                 [Y]ou folks are the conscience of the community. You are the
         representatives of this community, and you know that there’s a plague on the
         community, which is methamphetamine.
                 Now, you know that at the center of this epidemic are these two
         monsters, Mr. Stewart and Mr. Wettstain, because they’ve been peddling
         methamphetamine all over the [sic] your community for at least – for most of
         the last 10 years.

 (Transcript of Government’s Closing Argument at 2.)

         The Sixth Circuit employs a two-prong test when reviewing a claim of prosecutorial

 misconduct: “First, [the court] determine[s] whether the prosecutor’s conduct or comments

 were improper. Second, [the court] determine[s] whether the impropriety amounts to

 reversible error . . . .” United States v. Talley, 194 F.3d 758, 764 (6th Cir. 1999)(citing

 United States v. Carroll, 26 F.3d 1380 (6th Cir. 1994)). See also United States v. Watts,

 2008 WL 449983 (6th Cir. February 20, 2008).

         “Unless calculated to incite the passions and prejudices of the jurors, appeals to the

 jury to act as the community conscience are not per se impermissible.” United States v.

 Solivan, 937 F.2d 1146, 1151 (6th Cir. 1991). In reviewing the case law, the Court finds that

 the closing statement by the government “does not rise[] to the level of impropriety and

 prejudice required to reverse a conviction.” United States v. Ghazaleh, 58 F.3d 240, 246 (6th

 Cir. 1995)(“A review of our prior decisions shows that the type of appeal we have considered

 improper is one where the prosecutor urges the jury to send a message to all drug dealers in



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 the community by convicting the defendant.” Id.)1 The AUSA did not ask the jury to “send

 a message” by convicting the defendants.

        Notwithstanding, even if the government’s remarks were improper, the Court finds

 that the Court’s admonition “sufficiently diluted or eradicated any resulting prejudice.”

 Solivan, 937 F.2d at 1156. Upon objection by defense counsel, the Court immediately

 admonished the jury as follows:

        Ladies and gentlemen, your job in this case is not to solve the drug problem in
        this community. It’s an improper argument to make. Your job is to decide the
        evidence in this case and decide whether these people are guilty or not guilty
        of the crimes charged. So I want you to disregard any evidence – or any
        argument to the contrary made by Mr. Kilmartin.

  (Id. at 3-4.) Unlike the admonition given in Solivan, the court gave an immediate and firm

 curative instruction explaining why the statement by the government should have no effect

 on the jury’s deliberations. See Solivan, 937 F.2d at 1156-1157. Consequently, the

 government’s remark, assuming it was improper, does not amount to reversible error.

        For these reasons, IT IS HEREBY ORDERED that the Defendants’ motions for

 judgment of acquittal and a new trial [DN 128, DN 135] are DENIED.




 cc: counsel of record
                                                                           March 25, 2008




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          In Ghazaleh, the prosecutor argued that “[i]t probably went on in just about every
 corner and every block in this community during the three years that they were involved
 in this” and “these folks [the defendants] are drug dealers . . . they are the ones that have
 come in here and they’ve plagued the community with this kind of stuff.” 58 F.3d at 245-
 246.

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